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                                UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,                      Case No. 2:11-cr-20551
 -v-
                                                        JUDGE: ROBERT H. CLELAND
 TONEY TAYLOR,

                        Defendant.
                                               /



                    ORDER GRANTING SUBSTITUTION OF COUNSEL

        IT IS HEREBY ORDERED, by and between the parties that BYRON H. PITTS shall
 substitute as retained counsel in place of SEYMOUR BERGER on behalf of TONEY TAYLOR.


        IT IS FURTHER ORDERED, that SEYMOUR BERGER shall be relieved from any
 further responsibility in the above-entitled matter.



 Dated: May 22, 2013



                                                        _s/Robert H. Cleland
                                                         HONORABLE ROBERT H. CLELAND
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,                     Case No. 2:11-cr-20551
 -v-
                                                       JUDGE: ROBERT H. CLELAND
 TONEY TAYLOR.

                        Defendant,
                                               /


                                     CERTIFICATE OF SERVICE

 This is to certify that the foregoing papers have been electronically filed with the Clerk of the

 Court on May 17, 2013. Notice of this filing is sent to all parties by operation of the Court’s

 electronic filing system. Parties may access this filing through the Court’s ECF System.


                                                               /s/BYRON H. PITTS
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                                                               E-mail: bpittslaw@sbcglobal.net
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